CW Case 4:22-cr-00115-JFH Document 88 Filed in USDC ND/OK on 09/07/22. P

AO 442 (Rev. 10/13) Arrest Warrant

UNITED STATES DISTRICT COURT © 1 9:36
for the
Northern District of Oklahoma F I L E D
United States of America ) SEP 0 7 2022
v. ) Mark C. McCartt, Clerk
) Case No. U.S. DISTRICT COURT
JOHNNY WESLEY SPARKS, a/k/a "J5" )

Defendant ) 9 9 CR i i 5 CVE

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) JOHNNY WESLEY SPARKS, a/k/a "J5,"

who is accused of an offense or violation based on the following document filed with the court:

XX Indictment ©) Superseding Indictment 1 Information C] Superseding Information LC) Complaint
(] Probation Violation Petition [J Supervised Release Violation Petition [J Violation Notice [1 Order of the Court

This offense is briefly described as follows:

21 U.S.C. §§ 846 and 841(b)(1)(A)(vili) — Drug Conspiracy
21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii) — Possession of Methamphetamine with Intent to Distribute
18 U.S.C. § 924(d), 21 U.S.C. § 853, and 28 U.S.C. § 2461(c) — Drug and Firearms Forfeiture

APD 9 1 9n99
fl RR a“ 2022
Date:

Issuing office's signature

City and state: Tulsa, Oklahoma Mark McCartt, Court Clerk

Printed name and title

Return Auavsr

This warrant was received on (date) 4| Apew Wt , and the person was arrested on (date) By Arete. LD 77

At (city and state) "T aead f O cg

Date: 40 Ay ust Jolt
AD Aagl

Arresting offider 's signature

A. Spanen , Dosh

Printed name dnd title

DAN/kj
